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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

      IN RE:                                                     Chapter 11

      ROCKDALE MARCELLUS HOLDINGS,                               Case No. 21-22080-GLT
      LLC and ROCKDALE MARCELLUS, LLC,1
                                                                 (Jointly Administered)
                                 Debtors.


                            NOTICE OF CANCELLATION OF HEARINGS
                          SCHEDULED FOR MAY 24, 2023, at 1:30 P.M. (EST)


            ALL MATTERS SCHEDULED FOR HEARING HAVE BEEN RESOLVED
               OR ADJOURNED. ACCORDINGLY, THE HEARING HAS BEEN
                  CANCELED WITH PERMISSION FROM THE COURT.


 ADJOURNED MATTERS:

 1.          Objection to Informal Claim of Pennsylvania Public Utility Commission [Doc. No. 1176;
             Filed on June 13, 2022].

             Objection / Response Deadline:              September 20, 2022, at 4:00 PM (EST).

             Objections / Responses Received:

                 a. Pennsylvania Public Utility Commission Response in Opposition to Plan
                    Administrator’s Objection [Doc. No. 1208; Filed on July 1, 2022].

             Replies Received:

                 a. Plan Administrator’s Reply in Support of Objection to Informal Claim of
                    Pennsylvania Public Utility Commission [Doc. No. 1287; Filed October 20,
                    2022].

                 b. Repsol Oil & Gas, LLC’s Response (I) Joining the Plan Administrator’s Objection
                    to Informal Claim of Pennsylvania Public Utility Commission and (II) Objecting
                    to Pennsylvania Public Utility Commission’s Motion to Interpret, Implement and
                    Enforce Sale Transaction [Doc. No. 1288; Filed on October 20, 2022].


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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Rockdale Marcellus Holdings, LLC (7117); and Rockdale Marcellus, LLC (8767).

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       Related Documents:

           a. Declaration of Alfred T. Giuliano in Support of Objection [Doc. No. 1176-2, Filed
              on June 13, 2022].

           b. Notice of Hearing and Response Deadline Regarding Objection to Claim of
              Pennsylvania Public Utility Commission [Doc. No. 1177; Filed on June 13, 2022].

           c. Certificate of Service [Doc. No. 1186; Filed on June 14, 2022].

           d. Opposition Response to Plan Administrator Objection filed by PA Public Utility
              Commission [Doc No. 1228; Filed on July 18, 2022].

           e. Joint Motion to Continue/Reschedule Hearing On the Plan Administrator's
              Objection to Informal Claim of Pennsylvania Public Utility Commission [Doc No.
              1231; Filed July 19, 2022].

           f. Order Extending the Deadline for the Plan Administrator to File a Reply And
              Adjourning Hearing on the Plan Administrator's Objection to Informal Claim of
              Pennsylvania Public Utility Commission [Doc No. 1232; Filed on July 19, 2022].

           g. Certificate of Service [Doc. No. 1236; Filed on July 21, 2022].

           h. Joint Motion for Entry of an Order Adjourning Hearings [Doc. No. 1345, Filed
              January 19, 2023].

           i. Order Adjourning Hearings [Doc. No. 1350, Filed January 20, 2023].

           j. Joint Motion for Entry of an Order Adjourning Hearings on (I) Plan
              Administrator’s Objection to Informal Claim of PUC and (II) Motion for Leave
              to File Proof of Claim [Doc. No. 1383, filed March 20, 2023].

           k. Order Adjourning Hearings [Doc. No. 1384, Filed March 20, 2023].

           l. Certification of Counsel Regarding Stipulation and Agreed Order Resolving
              Disputes between the Plan Administrator and PA Public Utility Commission
              [Doc. No. 1394, Filed April 24, 2023].

           m. Stipulation and Agreed Order Resolving Disputes between the Plan Administrator
              and PA Public Utility Commission [Doc. No. 1395, entered April 24, 2023].

       Status: This matter has been resolved.




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 2.     Motion for Leave to File Proof of Claim [Doc. No. 1305; Filed on December 6, 2022].

        Objection / Response Deadline:       February 16, 2023, at 4:00 PM (EST).

        Objections / Responses Received:

           a.   Plan Administrator’s Objection to Pennsylvania Public Utility Commission’s
                Motion for Leave to File Proof of Claim [Doc. No. 1358, Filed on February 16,
                2023].

        Related Documents:

            a. Notice of Hearing and Response Deadline Regarding the Motion [Doc. No. 1306;
               Filed on December 6, 2022].

            b. Certificate of Service [Doc. No. 1307; filed on December 6, 2022].

            c. Joint Motion for Entry of an Order Adjourning Hearings [Doc. No. 1345, Filed
               January 19, 2023].

            d. Order Adjourning Hearings [Doc. No. 1350, Filed January 20, 2023].

            e. Joint Motion for Entry of an Order Adjourning Hearings on (I) Plan
               Administrator’s Objection to Informal Claim of PUC and (II) Motion for Leave
               to File Proof of Claim [Doc. No. 1383, filed March 20, 2023].

            f. Order Adjourning Hearings [Doc. No. 1384, Filed March 20, 2023].

            g. Certification of Counsel Regarding Stipulation and Agreed Order Resolving
               Disputes between the Plan Administrator and PA Public Utility Commission
               [Doc. No. 1394, Filed April 24].

            h. Stipulation and Agreed Order Resolving Disputes between the Plan Administrator
               and PA Public Utility Commission [Doc. No. 1395, entered April 24, 2023].

        Status: This matter has been resolved.

        PLEASE TAKE NOTICE that copies of the foregoing pleadings may be obtained from

 the Court’s website (http://www.pawb.uscourts.gov via ECF/Pacer) or upon request to the

 undersigned.




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 Dated: May 22, 2023                      Respectfully submitted,

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                                          Rockdale Marcellus, LLC




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